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 13   Universal Electronics Inc.              Additional counsel on last page
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 14
 15                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 16
 17
      UNIVERSAL ELECTRONICS INC.,               Case No. 8:18-cv-01580-JVS-ADS
 18   a Delaware Company,
                                                Hon. James V. Selna
 19               Plaintiff,
            v.                                  TWELFTH JOINT STATUS
 20                                             REPORT
      ROKU, INC., a Delaware Company,
 21
                  Defendant.
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  1            The parties file this twelfth joint status report pursuant to the Court’s November
  2   4, 2019 order staying this case. Dkt. No. 143 at 6 (“The parties shall file status reports
  3   every 90 days.”). The Court stayed this case pending the outcome of nine petitions for
  4   inter partes review filed by Defendant Roku, Inc. in the U.S. Patent and Trademark
  5   Office (“the IPRs”), which respectively challenge the validity of each of the nine
  6   patents asserted by Plaintiff Universal Electronics, Inc. in this case. Id. at 2.
  7   Plaintiff’s Statement:
  8            As of the date of this report, October 31, 2022, the Patent Trials and Appeal
  9   Board (“PTAB”) has denied institution of seven IPRs and granted institution of six
 10   IPRs. Final written decisions have issued in all six IPRs, five of which UEI has
 11   appealed to the Federal Circuit. A list of each IPR and its status is set forth in the
 12   following chart:
 13

 14    Inventor       Patent No.     IPR No.             Status
 15                                                      IPR Instituted May 15, 2020. Patent
       Janik          7,821,504      IPR2019-01621
 16                                                      Owner’s response to petition filed
                                                         July 31, 2020. Petitioner’s reply to
 17                                                      Patent Owner’s response filed
 18                                                      October 15, 2020. Trial held February
                                                         4, 2021. The IPR Final Decision
 19                                                      issued on May 12, 2021, finding
 20                                                      claims 1 and 5 unpatentable. Claims
                                                         2-4, 7, 14-16, 18, 20, 21 and 27-29
 21                                                      were not addressed by the IPR. UEI
 22                                                      filed a Notice of Appeal to the
                                                         Federal Circuit on July 9, 2021.
 23                                                      UEI’s Reply brief is due May 6,
 24                                                      2022. The Federal Circuit’s decision
                                                         is expected to issue in Fall 2022.
 25                                                      IPR Instituted May 15, 2020. Patent
       Janik          7,821,505      IPR2019-01620
 26                                                      Owner’s response to petition filed
                                                         July 31, 2020. Petitioner’s reply to
 27                                                      Patent Owner’s response filed
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  1    Inventor   Patent No.   IPR No.           Status
  2                                              October 15, 2020. The IPR Final
  3                                              Decision issued on May 12, 2021,
                                                 finding claims 5-7, 9, 10, 12, 49 and
  4                                              51 unpatentable. Claims 2, 4, 8, 9, 13,
  5                                              14, 16, 17, 19, 21, 38-42, 45-47, 52,
                                                 58, 69-76, 78, 79, 81, 83 and 84 were
  6                                              not addressed by the IPR. UEI filed a
  7                                              Notice of Appeal to the Federal
                                                 Circuit on July 9, 2021. UEI’s Reply
  8                                              brief is due May 6, 2022. The Federal
  9                                              Circuit’s decision is expected to issue
                                                 in Fall 2022.
 10                                              IPR Instituted April 1, 2020. Patent
       Mui        7,589,642    IPR2019-01612
 11                                              Owner’s response to petition filed
                                                 July 2, 2020. Petitioner’s reply to
 12                                              Patent Owner’s response filed
 13                                              October 2, 2020. Trial held December
                                                 22, 2020. The IPR Final Decision
 14                                              issued on March 29, 2021, finding
 15                                              claims 1-4, 6, 8-9 and 22-25
                                                 unpatentable. Claims 5, 7, and 10-21
 16
                                                 were not addressed by the IPR. UEI
 17                                              filed a Notice of Appeal to the
                                                 Federal Circuit on May 28, 2021.
 18
                                                 The Parties’ briefing is complete and
 19                                              the Federal Circuit’s decision is
                                                 expected to issue in Fall 2022.
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  1    Inventor   Patent No.   IPR No.           Status
  2                                              IPR Instituted April 1, 2020. Patent
       Mui        8,004,389    IPR2019-01613
  3                                              Owner’s response to petition filed
                                                 July 2, 2020. Petitioner’s reply to
  4                                              Patent Owner’s response filed
  5                                              October 2, 2020. Trial held December
                                                 22, 2020. The IPR Final Decision
  6                                              issued on March 29, 2021, finding
  7                                              claims 2-5 and 7-15 unpatentable.
                                                 Claims 1, 6, and 16 were not
  8                                              addressed by the IPR. UEI filed a
  9                                              Notice of Appeal to the Federal
                                                 Circuit on May 28, 2021. The Parties’
 10                                              briefing is complete and the Federal
 11                                              Circuit’s decision is expected to issue
                                                 in Fall 2022.
 12                                              IPR Instituted April 16, 2020. Patent
       Mui        9,911,325    IPR2019-01614
 13                                              Owner’s response to petition filed
                                                 July 2, 2020. Petitioner’s reply to
 14                                              Patent Owner’s response filed
 15                                              October 2, 2020. Trial held December
                                                 22, 2020. The IPR Final Decision
 16
                                                 issued on April 13, 2021, finding
 17                                              claims 1-5 unpatentable and claim 7
                                                 not unpatentable. Claims 6 and 8-16
 18
                                                 were not addressed by the IPR. UEI
 19                                              filed a Notice of Appeal to the
                                                 Federal Circuit on May 28, 2021.
 20
                                                 The Parties’ briefing is complete and
 21                                              the Federal Circuit’s decision is
                                                 expected to issue in Fall 2022.
 22
       Arling     9,716,853    IPR2019-01615     IPR Instituted April 17, 2020. Patent
 23                                              Owner’s response to petition filed
                                                 July 13, 2020. Petitioner’s reply to
 24
                                                 Patent Owner’s response filed
 25                                              October 21, 2020. Trial held January
                                                 25, 2021. The IPR Final Decision
 26
                                                 issued on March 29, 2021, finding all
 27                                              challenged claims not unpatentable.
                                                 Roku filed a request for rehearing on
 28
                                            3
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  1    Inventor       Patent No.    IPR No.            Status
  2                                                    May 13, 2021. Roku’s request for
  3                                                    rehearing was denied on August 17,
                                                       2021. Roku filed a Notice of Appeal
  4                                                    on October 14, 2021. Roku’s Reply
  5                                                    Brief is due May 18, 2022. The
                                                       Federal Circuit’s decision is expected
  6                                                    to issue in Fall 2022.
  7    Mui            9,911,325     IPR2020-00951      Institution Denied
  8    Mui            9,911,325     IPR2020-00953      Institution Denied
  9    Mui            7,589,642     IPR2020-01012      Institution Denied
 10    Arling         9,716,853     IPR2020-00952      Institution Denied
 11    Scott          8,015,446     IPR2019-01595      Institution Denied
 12    Scott          7,895,532     IPR2019-01608      Institution Denied
 13    Janik          7,782,309     IPR2019-01619      Institution Denied
 14
               On April 16, 2020, UEI filed a complaint at the International Trade Commission
 15
      entitled Certain Electronic Devices. Including Streaming Players, Televisions, Set Top
 16
      Boxes, Remote Controller, and Components Thereof, DN3450 against various
 17
      respondents, including Roku, Inc., the Defendant in this case. The ITC complaint
 18
      alleges infringement of three patents asserted in this case and three new patents,
 19
      including newly issued family members. The ITC instituted Investigation No. 337-
 20
      TA-1200 on May 18, 2020. On January 19, 2021, the ALJ concluded that Roku
 21
      infringed claim 19 of the 642 Patent. A hearing was held April 19-23, 2021. On July
 22
      9, 2021, the ALJ issued an initial determination finding Roku in violation of Section
 23
      337. The Commission issued a final determination on November 10, 2021, affirming
 24
      the ID’s finding that Roku is in violation of Section 337. The Commission issued a
 25
      limited exclusion order and cease and desist order against Roku, which went into effect
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      following the expiration of the Presidential Review Period on January 9, 2022. On
 27
      January 24, 2022, Roku filed an appeal with the Federal Circuit, seeking review of
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  1   certain of the Commission’s findings. Roku filed its Opening Brief on June 15, 2022.
  2   UEI filed its Responsive Brief on October 25, 2022.
  3   Defendant’s Statement:
  4          As of the date of this report, October 31, 2022, six of the nine IPRs for which
  5   this case was originally stayed have resulted in final written decisions from the Patent
  6   Trial and Appeal Board (“PTAB”). Each of those final written decisions is presently
  7   under review. Three of the other nine IPRs were denied institution. A list of each of
  8   the original nine IPRs and their status is set forth in the following chart:
  9
       Inventor     Patent No.     IPR No.              Status
 10
       Mui          7,589,642      IPR2019-01612        IPR Instituted April 1, 2020.
 11
                                                        Final Written Decision issued on
 12                                                     March 29, 2021. Patent Trial and
                                                        Appeal Board determined that all
 13
                                                        challenged claims 1-4; 6; 8; 9; and
 14                                                     22-25 were found to be unpatentable.
                                                        Patent Owner filed Notice of Appeal
 15
                                                        to the Federal Circuit on May 28,
 16                                                     2021. Oral argument scheduled for
                                                        November 3, 2022.
 17
       Mui          8,004,389      IPR2019-01613        IPR Instituted April 1, 2020. Final
 18                                                     Written Decision issued on March 29,
 19
                                                        2021. Patent Trial and Appeal Board
                                                        determined that all challenged claims
 20                                                     2-5 and 7-15 were found to be
 21
                                                        unpatentable. Patent Owner filed
                                                        Notice of Appeal to the Federal
 22                                                     Circuit on May 28, 2021. Oral
 23                                                     argument scheduled for November 3,
                                                        2022.
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  1    Inventor   Patent No.   IPR No.           Status
  2                                              IPR Instituted April 16, 2020. Final
       Mui        9,911,325    IPR2019-01614
  3                                              Written Decision issued on April 13,
                                                 2021. Patent Trial and Appeal Board
  4                                              determined that challenged claims 1-5
  5                                              were found to be unpatentable, and
                                                 claim 7 was not determined to be
  6                                              unpatentable. Patent Owner filed
  7                                              Notice of Appeal to the Federal
                                                 Circuit on May 28, 2021. Oral
  8                                              argument scheduled for November 3,
  9                                              2022.
       Arling     9,716,853    IPR2019-01615     IPR Instituted April 17, 2020. Final
 10                                              Written Decision issued on April 13,
 11                                              2021. Patent Trial and Appeal Board
                                                 determined that no challenged claims
 12                                              were found to be unpatentable.
 13                                              Petitioner filed Request for Rehearing
                                                 on May 13, 2021, which was denied
 14                                              on August 17, 2021. Petitioner filed
 15                                              Notice of Appeal to the Federal
                                                 Circuit on October 14, 2021. Oral
 16
                                                 argument scheduled for November 3,
 17                                              2022.
 18    Scott      8,015,446    IPR2019-01595     Denied on March 16, 2020.
 19
                                                 Request for rehearing filed on May
 20                                              15, 2020, and denied on May 13,
                                                 2021.
 21
       Scott      7,895,532    IPR2019-01608     Denied on March 16, 2020.
 22

 23                                              Request for rehearing filed on May
                                                 15, 2020, and denied on March 15,
 24
                                                 2021.
 25
       Janik      7,782,309    IPR2019-01619     Denied on April 2, 2020.
 26
                                                 Request for rehearing filed on May 4,
 27
                                                 2020, and denied on May 25, 2021.
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      TWELFTH JOINT STATUS REPORT                         CASE NO. 8:18-cv-01580-JVS(ADS)
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  1    Inventor       Patent No.   IPR No.            Status
  2                                                   IPR Instituted May 13, 2020
       Janik          7,821,504    IPR2019-01621
  3
                                                      Final Decision issued May 12, 2021
  4                                                   cancelling all challenged claims as
  5                                                   unpatentable. Notice of Appeal to the
                                                      Federal Circuit filed by UEI July 9,
  6                                                   2021. Oral argument scheduled for
  7                                                   November 3, 2022.
       Janik          7,821,505    IPR2019-01620      IPR Instituted May 13, 2020
  8

  9                                                   Final Decision issued May 12, 2021
                                                      cancelling all challenged claims as
 10                                                   unpatentable. Notice of Appeal to the
 11                                                   Federal Circuit filed by UEI July 9,
                                                      2021. Oral argument scheduled for
 12                                                   November 3, 2022.
 13
               Additionally, this case also remains stayed pending U.S. International Trade
 14
      Commission Investigation No. 337-TA-1200. Dkt. No. 150. On July 9, 2021, the ALJ
 15
      in that Investigation issued an initial determination (“ID”), finding invalid the
 16
      remaining claim of the ‘642 Patent asserted in that Investigation. On September 9,
 17
      2021, the Commission issued a Notice of a Commission Determination to Review the
 18
      Final Initial Determination In Part. In the Commission’s notice, the Commission
 19
      determined it would not review the ID’s finding of invalidity with respect to the ‘642
 20
      Patent, thereby leaving the ALJ’s finding of invalidity of that patent in place. The
 21
      Commission issued a final determination on November 10, 2021 finding a violation of
 22
      Section 337, which is currently being appealed to the U.S. Court of Appeals for the
 23
      Federal Circuit.
 24
               In May of 2020, Roku filed joinder IPRs in Case Nos. IPR2020-00951,
 25
      IPR2020-00953, IPR2020-00953, and IPR2020-01012, which sought to challenge
 26
      additional claims of the ’642, ’325 and ’853 Patents that UEI has asserted in the ITC
 27
      Investigation. On November 10, 2020, the PTAB denied institution of those four
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  1   joinder IPRs on procedural grounds.
  2         Additionally, on June 8, 2022, the USPTO initiated an ex parte reexamination
  3   of claims 5, 7, 12, 14, 19, and 20 of the ’642 Patent, Reexamination Control No.
  4   90/019,071. And, on August 26, 2022, the USPTO initiated an ex parte reexamination
  5   of claims 6, 8, 9, and 11-16 the ’325 Patent, Reexamination Control No. 90/019,093.
  6

  7   DATED: October 31, 2022
  8                                          Respectfully submitted,
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      TWELFTH JOINT STATUS REPORT                           CASE NO. 8:18-cv-01580-JVS(ADS)
 Case 8:18-cv-01580-JVS-ADS Document 169 Filed 10/31/22 Page 10 of 11 Page ID
                                  #:6627



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     TWELFTH JOINT STATUS REPORT                      CASE NO. 8:18-cv-01580-JVS(ADS)
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                                  #:6628



 1                                       ATTESTATION
 2         I, Ryan W. Koppelman, am the ECF User whose identification and password are
 3   being used to file this document. I hereby attest that the concurrence to the filing of this
 4   document has been obtained from each signatory hereto in accordance with Civil L.R.
 5   5-4.3.4.
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     TWELFTH JOINT STATUS REPORT                               CASE NO. 8:18-cv-01580-JVS(ADS)
